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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

UNITED STATES OF AMERICA,

                                                CIVIL ACTION NO.

      v.                                        1:12-CR-232-2-CAP

DOMINGO NAJERA-PEREZ,



                                  ORDER

      This action is before the court on the magistrate judge’s report and

recommendation [Doc. No. 114] and the defendant’s objections thereto [Doc.

No. 119]. After a de novo review of the issues addressed in the R&R, the

court OVERRULES the defendant’s objections. The R&R is ADOPTED as

the order and opinion of this court.

      SO ORDERED this 5th day of March, 2014.



                                       /s/ Charles A. Pannell, Jr.
                                       CHARLES A. PANNELL, JR.
                                       United States District Judge
